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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                )
JOSEPH RANDOLPH MAYS,                           )
                                                )
                Plaintiff,                      )
                                                )
       v.                                       )
                                                )       Civil Action No. 20-2197 (CKK)
FEDERAL BUREAU OF PRISONS, et al.,              )
                                                )
                Defendants.                     )
                                                )
                                                )
                                                )

                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Now come the Defendants in the above captioned matter, by and through undersigned

counsel, and hereby move for summary judgment pursuant to Fed. R. Civ. P. 56. In support of

this motion, Defendants rely on the following submitted with this motion: Memorandum in

Support; Statement of Material Facts Not in Dispute; Declaration of Kelly Forbes, with attached

Exhibits A through Q; and Vaughn index.

Dated: March 19, 2021                                     Respectfully submitted,

                                                          CHANNING D. PHILLIPS
                                                          D.C. Bar No. 415793
                                                          Acting United States Attorney

                                                          BRIAN P. HUDAK
                                                          Acting Chief, Civil Division


                                                          By: /s/Thomas W. Duffey
                                                          THOMAS W. DUFFEY
       `                                                  Assistant United States Attorney
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                                                                Attorneys for the United States

                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on this 19th day of March, 2021, he served a copy

of the foregoing Motion for Summary Judgment; Statement of Material Facts Not in Dispute;

Declaration of Kelly Forbes, with attached Exhibits A through Q; and Vaughn Index, upon the

Pro Se Plaintiff, via regular mail, at the following address:

Joseph Randolph Mays
Pro Se
R#43487-007
Gilmer Federal Correctional Institution
Inmate Mail/Parcels
P.O. Box 6000
Glenville. WV 26351-6000

                                                                /s/ Thomas W. Duffey
                                                                THOMAS W. DUFFEY




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